Case 2:25-cr-00333-AB Document15 Filed 05/23/25 Pagelof1 Page ID#:51

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

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DEPUTY

United States of America CASE NUMBER

PLAINTIFF Z 2 S$ cr o0 334-AgB

R UKM KKRAME?? DESIGNATION AND APPEARANCE OF COUNSEL

DEFENDANT(S).

DESIGNATION OF COUNSEL

I, the er Sige in the PY red case, hereby designate and appoint
ALAN SNER m(TAY Cedi MV , Esquire, as my attorney to appear for
me fee all proceedings in i case.

5:23:25 G22 A AZ

Date Defendant's Bien gare

Los fgets, etl

City and State

f} ff fj ff
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f | /y APPEARANCE OF COUNSEL

lif PIA} Aven EIS AJ EK Attorney at law duly admitted to

practice before the Tyee suiee District Court for the Central District of California, hereby consent to my designation and
appointment as counsel for the above-named defendant. The Clerk is jpeteione requested to enter my appearance as
defendant's counsel. fr 1 ff

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Receipt is hereby acknowledged of a copy of the “TY or Information in this case.
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5.2326

Date Attorney's % Senatuie? -

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California State Bar Number Street Address

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CR-14 (01/07) DESIGNATION AND APPEARANCE OF COUNSEL
